     Case 1:18-cv-00156-AWI-SAB Document 10 Filed 06/06/18 Page 1 of 2


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     Attorneys for Plaintiff THERESA BROOKE
 7
 8                           UNITED STATES DISTRICT COURT

 9                         EASTERN DISTRICT OF CALIFORNIA
10
     THERESA BROOKE, a married woman
11   dealing with her sole and separate claim,      Case No: 1:18-cv-00156-AWI-SAB
12                        Plaintiff,                STIPULATION OF DISMISSAL
13                                                  WITH PREJUDICE

14   vs.
15
     HI FRESNO HOTEL HOLDINGS, LLC, a
16   California limited liability company dba
     Radisson Fresno,
17
18                        Defendant.

19          The parties stipulate and agree to dismiss the above action with prejudice, with
20   each party to bear her/its own costs and attorneys’ fees.
21
            RESPECTFULLY SUBMITTED this 6th day of June, 2018.
22
23
                                                 THE STROJNIK FIRM L.L.C.
24
25
26
                                                 Peter Kristofer Strojnik (242728)
27                                               Attorneys for Plaintiff THERESA BROOKE
28
     Case 1:18-cv-00156-AWI-SAB Document 10 Filed 06/06/18 Page 2 of 2


 1                                      WAGNER JONES HELSLEY P.C.
 2
 3                                      /s/ Michael Helsley
                                        Michael Helsley
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